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8                           UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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11      LARRY DUNN,                              Case No. 2:24-cv-04292-FLA (PDx)
12                               Plaintiff,
                                                 ORDER DISMISSING ACTION
13                 v.                            [DKT. 20]
14
        ALL CITY PARKING
15      MANAGEMENT, INC, et al.
16                               Defendants.
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1            On August 23, 2024, Plaintiff filed a Notice of Settlement, stating the parties
2      had agreed to settle the action and anticipated dismissing the action after satisfaction
3      of the terms of settlement. Dkt. 20.
4            Having considered the Notice of Settlement and finding good cause therefor,
5      the court hereby ORDERS:
6                1. All deadlines governing this action are VACATED.
7                2. The court DISMISSES the action without prejudice. The court retains
8                   jurisdiction to vacate this Order and to reopen the action within sixty (60)
9                   days from the date of this Order, provided any request by a party to do so
10                  shall make a showing of good cause as to why the settlement has not
11                  been completed within the 60-day period, what further settlement
12                  processes are necessary, and when the party making such a request
13                  reasonably expects the process to be concluded.
14               3. This Order does not preclude the filing of a stipulation of dismissal with
15                  prejudice pursuant to Fed. R. Civ. P. 41, which does not require approval
16                  of the court. Such stipulation shall be filed within the aforementioned
17                  60-day period, or by such later date ordered by the court pursuant to a
18                  stipulation by the parties that conforms to the requirements of a showing
19                  of good cause stated above.
20
21           IT IS SO ORDERED.
22
23     Dated: August 28, 2024
24                                                     _______________________________
                                                       FERNANDO L. AENLLE-ROCHA
25                                                     United States District Judge
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